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      1211 SW 5th Ave., Suite 1900
      Portland, OR 97204
      Telephone: 503.222.9981
      Facsimile: 503.796.2900

              Attorneys for Plaintiff

                                IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON

                                            PORTLAND DIVISION

      DRY BULK SINGAPORE PTE. LTD.               )
                                                 )
              Plaintiff,                         )
                                                 )        Case No.: 3:19-cv-1671
      v.                                         )
                                                 )        IN ADMIRALTY
      Amis Integrity S.A. in personam and        )
      M/V AMIS INTEGRITY (IMO 9732412)           )
      her engines, freights, apparel,            )
      appurtenances, tackle, etc., in rem,       )
                                                 )
              Defendant.

           MOTION FOR AN ORDER DEPUTIZING CALEY KARRICK TO ACT IN LIEU OF
           U.S. MARSHAL IN SERVING WARRANT OF ARREST OF M/V AMIS INTEGRITY

              Plaintiff, DRY BULK SINGAPORE PTE. LTD. (hereinafter “DRY BULK” or “Plaintiff”),

      by and through undersigned counsel, hereby moves for emergency Order Deputizing Caley Karrick

      to act in lieu of the US Marshal in Portland for the sole purpose of serving an arrest and related

      papers, as necessary, upon the M/V AMIS INTEGRITY (hereinafter the “Vessel”) currently in the

                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
Page 1 -     MOTION FOR AN ORDER DEPUTIZING CALEY                                         Attorneys at Law
                                                                                    1211 SW 5th Ave., Suite 1900
             KARRICK TO ACT IN LIEU OF U.S. MARSHAL IN                                  Portland, OR 97204
                                                                                      Telephone: 503.222.9981
             SERVING WARRANT OF ARREST OF M/V AMIS                                       Fax: 503.796.2900

             INTEGRITY
      Columbia River at Vancouver, WA, consistent with Orders signed by this judge today authorizing

      such arrest. This Motion is based on the information received yesterday and this morning, as recited

      in the attached Declaration of C. Kent Roberts, undersigned local counsel for plaintiff in this action,

      that the US Marshal in Portland has received the required papers, but has advised he was unable to

      serve papers today due to other responsibilities and a short staff.

             As indicated in the attached Declaration, the proposed deputy is an experienced maritime

      ship agent, a person of high character, with more than 25 years in the business of ship agency,

      husbanding and vessel services locally and a holder of a TWIC card.

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                                                                                   SCHWABE, WILLIAMSON & WYATT, P.C.
Page 2 -    MOTION FOR AN ORDER DEPUTIZING CALEY                                             Attorneys at Law
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                                                                                         Telephone: 503.222.9981
            SERVING WARRANT OF ARREST OF M/V AMIS                                           Fax: 503.796.2900

            INTEGRITY
             The need for action today is that on information and belief the M/V AMIS INTEGRITY is

      scheduled to depart the district tonight at 9PM local time



      Dated: October 17, 2019

                                                    Respectfully submitted,

                                                    SCHWABE, WILLIAMSON & WYATT, P.C.



                                                    By:      s/C. Kent Roberts
                                                            David R. Boyajian, OSB #112582
                                                            dboyajian@schwabe.com
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                                                                                      SCHWABE, WILLIAMSON & WYATT, P.C.
Page 3 -   MOTION FOR AN ORDER DEPUTIZING CALEY                                                 Attorneys at Law
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           SERVING WARRANT OF ARREST OF M/V AMIS                                               Fax: 503.796.2900

           INTEGRITY
